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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Andrew Shackett,                           Civil No.: 0:14-cv-04895-SRN-TNL

            Plaintiff,

vs.                                           EXHIBIT B TO JOINT
                                         STIPULATION TO FILE SECOND
CraftWorks Restaurants & Breweries        AMENDED COMPLAINT AND
Group, Inc.,                               JURY DEMAND (DOC. NO. 6)
            Defendant.



Exhibit B    Proposed Second Amended Complaint and Jury Demand - Redlined
             Version
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STATE OF MINNESOTA                                                          UNITED STATES
                                      DISTRICT COURT

COUNTY OF RAMSEY                                     SECOND JUDICIAL DISTRICT
                                 DISTRICT OF MINNESOTA

                                                 Court File No.: 6214-cv-14-727304895-SRN-
                                               TNL
                                                       Case Type: Employment Discrimination
Andrew Shackett,

                Plaintiff,

        v.                                                        SECOND AMENDED
                                                                   COMPLAINT AND
                                                                    JURY DEMAND
CraftWorks Restaurants & Breweries Group, Inc.,

                Defendant.


Andrew Shackett (“Plaintiff”), for his Complaint against CraftWorks Restaurants & Breweries

Group, Inc. (“Defendant”), states and alleges as follows:

                                              PARTIES

   1.        Plaintiff is a resident of the City of Minneapolis, County of Hennepin, State of

Minnesota.

   2.        At all relevant times, Plaintiff was employed by Defendant. Defendant is a business

with a location in the City of Roseville, County of Ramsey, State of Minnesota.

                                  JURISDICTION AND VENUE

   3.        The jurisdiction of this Court is invoked as violations occurred in the State of

Minnesota and involve federal law. Pursuant to section 107 of the Family Medical Leave Act, an

employee may file a claim in state or federal court.




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   4.       Venue is appropriate because Defendant transacts a substantial amount of business in

the State of Minnesota and a substantial amount of the facts giving rise to this action occurred

within the borders of the County of Ramsey, State of Minnesota.

                                             FACTS

   5.       Plaintiff was employed by Defendant for nineteen months until his termination on

July 27, 2014, as the Bar Manager at Old Chicago located in Roseville, Minnesota.

   6.       Plaintiff had no performance or disciplinary issues in the nineteen months he worked

for Defendant.

   7.       In February 2014, Plaintiff and his wife learned that they were selected to be the

adoptive parents of a boy due to be born in June, 2014. Within days, Plaintiff notified Luke

Dunham, the Area Director at Defendant, and Tony Bullock, the General Manager at Defendant,

that he would exercise his rights under the FMLA and would be gone for at least a month when

his son was born. Plaintiff was told to remind them again in April.

   8.       As part of the adoption process, Plaintiff was to fly down to Atlanta, Georgia to

participate in the birth of his adopted son. The law requires adoptive parents to remain in the

state where the baby is born until the court approves their departure. Once they received court

approval, Plaintiff and his wife planned to bring their son, Alex, home to Minnesota.

   9.       On April 17, Plaintiff provided Defendant with written notice that he intended to

exercise his rights under the FMLA when his son was born.

   10.      On May 14, Plaintiff submitted his FMLA paperwork. Plaintiff and his wife received

a call on May 16 and were told the birth mother was in labor. Plaintiff called and sent text

messages to both Bullock and Dunham to inform them that he was leaving to be present at the




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birth of his son. The only day of work that Plaintiff missed due to this series of events was May

18. Plaintiff’s son was born on May 19.

   11.      On May 26, Defendant posted a new work schedule. According to the schedule,

Steve Vargas, who was previously the Server Manager, was now listed as the Bar Manager and

Plaintiff was listed as the Server Manager.

   12.      Plaintiff texted Bullock and asked him why Vargas was taking over as the Bar

Manager. Bullock said that they would talk about it when Plaintiff returned. Plaintiff returned to

work on June 23. In a manager’s meeting that day, Bullock informed the managers that Vargas

was taking over as the Bar Manager and Plaintiff would be demoted to the Server Manager.

Plaintiff asked Bullock to reconsider but was told that the decision had already been made by

Dunham.

   13.      On June 24, Plaintiff called Dunham and reported that Old Chicago could not take his

position away while he is on FMLA leave. Dunham responded that the decision would stand

because Vargas was “getting the hang” of being the Bar Manager. That same day, Plaintiff

wrote a letter to Human Resources reporting that he was being retaliated against for exercising

his rights under the FMLA. By noon the next day, June 25, Dunham called Plaintiff and told

him he would be reinstated as Bar Manager.

   14.      On July 22, Plaintiff was working as the Bar Manager and was responsible for closing

the restaurant. Typically Old Chicago closes at 1:30 a.m., but managers sometimes lock the

doors a bit early when the restaurant is completely empty. Management was aware of this

practice and had not previously disciplined anyone for it. On that day, the restaurant was

completely empty so Plaintiff closed the restaurant shortly after 1:00 a.m. Two customers came




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to the door together after it had been locked. Travis Van Dell, who is a Supervisor, told the

customers that Plaintiff locked the doors early.

   15.      Around 10:30 p.m. that same night, Van Dell had suggested that Plaintiff leave early

and let him close the restaurant because Plaintiff mentioned he wasn’t feeling very well that

evening. Plaintiff agreed because Van Dell suggested it and Plaintiff knew that Van Dell had

been allowed to close the restaurant previously.

   16.      The customers that attempted to enter the restaurant after the doors had been locked

complained. In response to this complaint, on July 23, Dunham emailed Plaintiff and asked what

happened. Plaintiff replied honestly – he closed the doors because he believed it was a good

business decision and he wasn’t feeling well so he accepted Van Dell’s offer to close the

restaurant for him.

   17.      On July 27, Plaintiff went to work and Dunham and Bullock were both present in the

restaurant. Dunham and Bullock asked Plaintiff about closing the restaurant early and allowing

Van Dell to close. Plaintiff again replied honestly and he was terminated.

   18.      As a direct and proximate result of Defendant’s illegal conduct, Plaintiff has suffered

from distress, humiliation and embarrassment, loss of reputation, loss of enjoyment in life, loss

of wages and benefits, and has incurred attorneys’ fees and expenses and other serious damage.


                                            CLAIMS:

                                          COUNT ONE

              VIOLATIONS OF THE FAMILY AND MEDICAL LEAVE ACT

Plaintiff re-alleges each and every paragraph of this Complaint.

   19.      Defendant engaged in unlawful employment practices involving Plaintiff in violation

of the Family Medical Leave Act (“FMLA”), 29 U.S.C. § 2601 et seq. These practices include,



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but are not limited to: altering the terms and conditions of Plaintiff’s employment after his

FMLA leave requests and terminating Plaintiff’s employment because of his FMLA leave.

   20.      Plaintiff was retaliated against in the terms, conditions, and privileges of his

employment after he exercised his rights under the FMLA and informed Defendant of his need

for FMLA leave.

   21.      The effect of the practices complained of above has been to deprive Plaintiff of equal

employment opportunities and otherwise adversely affecting his status as an employee because

he exercised his rights under the FMLA.

   22.      The unlawful employment practices complained above were intentional and were

performed by Defendant with malice or reckless indifference to the laws, which protect Plaintiff.

   23.      As a direct and proximate result of Defendant’s illegal conduct, Plaintiff has suffered,

and continues to suffer, emotional distress, humiliation, embarrassment, pain and suffering, loss

of reputation, loss of enjoyment of life, lost wages and benefits, and has incurred attorneys’ fees

and expenses and other serious damages.

                                          COUNT TWO

                       VIOLATIONS OF MINNESOTA STATUTE § 181.92

Plaintiff re-alleges each and every paragraph of this Complaint.

   24.      Defendant engaged in unlawful employment practices involving Plaintiff in violation

of the Minnesota Statute § 181.92 et seq. These practices include, but are not limited to:

penalizing Plaintiff by altering the terms and conditions of his employment during and after his

leave to adopt a child and terminating Plaintiff’s employment because of his leave and/or the

adoption of a child.




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    25.      Plaintiff was penalized in the terms, conditions, and privileges of his employment

after he exercised his rights.

    26.      The effect of the practices complained of above has been to deprive Plaintiff of equal

employment opportunities and otherwise adversely affecting his status as an employee because

he exercised his rights under Minn. Stat. § 181.92.

    27.      The unlawful employment practices complained above were intentional and were

performed by Defendant with malice or reckless indifference to the laws, which protect Plaintiff.

    28.      As a direct and proximate result of Defendant’s illegal conduct, Plaintiff has suffered,

and continues to suffer, emotional distress, humiliation, embarrassment, pain and suffering, loss

of reputation, loss of enjoyment of life, lost wages and benefits, and has incurred attorneys’ fees

and expenses and other serious damages.


                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully prays:

    a.       That the practices of Defendant complained of herein be adjudged, decreed and

declared to be in violation of the rights secured to Plaintiff by federal law.

    b.       That Defendant be required to make Plaintiff whole for its adverse, retaliatory and

unlawful actions through restitution in the form of back pay, with interest of an appropriate

inflation factor.

    c.       That Plaintiff be awarded front pay and the monetary value of any employment

benefits he would have been entitled to as an employee of Defendant.

    d.       That a permanent prohibitory injunction be issued prohibiting Defendant from

engaging in the practices complained of herein.




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    e.      That Plaintiff be awarded compensatory damages in an amount to be determined at

trial.

    f.      That Plaintiff be awarded liquidated damages as permitted by the FMLA.

    g.      That the Court award Plaintiff his attorneys’ fees, costs and disbursements pursuant

statute.

    h.      That the Court grant such other and further relief as it deems fair and equitable.

               PLAINTIFF DEMANDS TRIAL BY JURY ON ALL COUNTS


Dated: December 16, 2014                              HALUNEN & ASSOCIATES

                                                      ______________________________
                                                      Clayton D. Halunen, #219721
                                                      Kaarin S. Nelson, #386919
                                                      V. Joshua Socks, #395675
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                                                      ATTORNEYS FOR PLAINTIFF



                                     ACKNOWLEDGMENT

The undersigned hereby acknowledges that costs, disbursements, and reasonable attorney’s fees
may be awarded pursuant to Minn. Stat. § 549.211 to the party against whom the allegations in
this pleading are asserted.


Dated:                                                ___________________________
                                                      Kaarin S. Nelson




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